     Case 1:17-cv-01637-JEJ-EBC Document 31 Filed 04/11/18 Page 1 of 10



               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

BRAY JIBRIL MURRAY,                     :
              Plaintiff,                :       1:17-cv-1637
                                        :
      v.                                :       Hon. John E. Jones III
                                        :
SECRETARY JOHN E. WETZEL,               :
et al.,                                 :
             Defendants.                :

                   MEMORANDUM AND ORDER

                               April 11, 2018

      On September 12, 2017, Bray Jibril Murray (“Murray” or “Plaintiff”), a

state inmate presently incarcerated at the State Correctional Institution at Dallas,

Pennsylvania, filed this civil rights action pursuant to 42 U.S.C. § 1983,

accompanied by a motion for a preliminary injunction and temporary restraining

order. (Docs. 1, 3, 4). The subject of this Memorandum is Murray’s motion (Doc.

3) for a preliminary injunction and temporary restraining order.

I.    Allegations of the Complaint

      Murray alleges as follows:

      I am a NON-SMOKER who have NEVER consumed any kind of
      tobacco products. On 8/30/2016, I arrived to SCI-DALLAS, and was
      immediately placed in the Restricted Housing Unit (RHU); where it
      absolutely prohibit [sic] inmates to purchase, possess and consume
      any sort of tobacco products. On 9/22/2016, I was released into the
      general population of SCI-DALLAS; where inmates and staff are
      Case 1:17-cv-01637-JEJ-EBC Document 31 Filed 04/11/18 Page 2 of 10



       allowed to purchase, possess and consume/use smoking tobacco
       products. There is no NON-SMOKING housing unit in SCI-
       DALLAS. Nor is there a housing unit, where it is absolutely
       prohibited for inmates to purchase, possess and consume/use
       SMOKING TOBACCO products.

       On 9/22/2017 [sic] I was placed on F-unit, where it houses approx.
       200 inmates, because 88 of the 100 cells on unit are occupied by two
       inmates at all times. Moreover, the complete absence of video
       recording cameras on housing units allows inmates and staff to freely
       and openly use smoking tobacco products (all day and night)
       anywhere in the housing units, with impunity.

       Consequently, as soon as I enters F-unit (as a resident) I was exposed
       (every day and night) to extraordinarily high levels of SECOND-
       HAND SMOKE. During the months October 2016 and January 2017,
       I vigorously complained about the inordinately high levels of tobacco
       smoke in housing units… None of the request to staff were answered
       or received any response.

(Doc. 1, pp. 2-3). He further alleges that the exposure to “extraordinarily high

levels of second hand tobacco smoke” is “causing mental and emotional anguish

and distress, as a result of my future health being placed at grave risk and peril.”

(Id. at 3).

II.    Standard of Review

       Preliminary injunctive relief is “an extraordinary remedy” that “should be

granted only in limited circumstances.” Kos Pharm., Inc. v. Andrx Corp., 369 F.3d

700, 708 (3d Cir. 2004) (citing AT&T v. Winback and Conserve Program, Inc., 42

F.3d 1421, 1426-27 (3d Cir. 1994)); see also FED. R. CIV. P. 65. “[T]o obtain a

                                           2
       Case 1:17-cv-01637-JEJ-EBC Document 31 Filed 04/11/18 Page 3 of 10



preliminary injunction the moving party must show as a prerequisite (1) a

reasonable probability of eventual success in the litigation, and (2) that it will be

irreparably injured ... if relief is not granted.... [In addition,] the district court, in

considering whether to grant a preliminary injunction, should take into account,

when they are relevant, (3) the possibility of harm to other interested persons from

the grant or denial of the injunction, and (4) the public interest.” Reilly v. City of

Harrisburg, 858 F.3d 173, 176 (3d Cir. 2017) (citing Del. River Port Auth. v.

Transamerican Trailer Transport, Inc., 501 F.2d 917, 919–20 (3d Cir. 1974). A

movant must “meet the threshold for the first two ‘most critical’ factors: it must

demonstrate that it can win on the merits (which requires a showing significantly

better than negligible but not necessarily more likely than not) and that it is more

likely than not to suffer irreparable harm in the absence of preliminary relief.”

Reilly, 858 F.3d at 179. Only if these “gateway factors” are met is the court

required to consider the third and fourth factors. Id. at 176, 179. The court must

then balance all four factors to determine, in its discretion, whether the

circumstances favor injunctive relief. Id. at 179.

III.   Discussion

       Murray seeks an Order directing Defendants to “Cease and Desist” the

following conduct at SCI-Dallas: 1. The trafficking and sale of smoking an non-

                                              3
     Case 1:17-cv-01637-JEJ-EBC Document 31 Filed 04/11/18 Page 4 of 10



smoke tobacco products; 2. The introduction of any type of smoking and non-

smoke tobacco product by all employees and staff; and, 3. The purchase,

possession and use/consumption of any type of smoking and non-smoke tobacco

products. (Doc. 3, p. 1). He also seeks the removal of all smoking and non-smoke

tobacco products from SCI-Dallas. (Id.)

      A.     Likelihood of Success on the Merits

      The Eighth Amendment “requires that inmates be furnished with the basic

human needs, one of which is ‘reasonable safety.’ ” Helling v. McKinney, 509

U.S. 25, 33 (1993) (quoting DeShaney v. Winnebago County Dep’t of Social

Servs., 489 U.S. 189, 200 (1989)). “Liability based on exposure to ETS requires

proof of (1) exposure to unreasonably high levels of ETS contrary to contemporary

standards of decency; and (2) deliberate indifference by the authorities to the

exposure to ETS.” Helling, 509 U.S. at 35. The Supreme Court has observed that

the adoption by a prison of an anti-smoking policy “will bear heavily on the

inquiry into deliberate indifference.” Id. at 36.

      ETS claims come in two varieties, present injury and future injury. Murray

emphasizes in his reply brief that he is seeking relief based on future injury. (Doc.

1, p. 4). To state a cognizable future injury claim, a plaintiff must allege that

“prison officials have exposed him, with deliberate indifference, to levels of ETS

                                           4
     Case 1:17-cv-01637-JEJ-EBC Document 31 Filed 04/11/18 Page 5 of 10



that pose an unreasonable risk of harm to his future health.” Atkinson v. Taylor,

316 F.3d 257, 262 (3d Cir. 2003) (citing Helling, 509 U.S. 25). Specifically, a

plaintiff must (1) objectively show that “he is being exposed to unreasonably high

levels of ETS,” contrary to contemporary standards of decency, and (2)

subjectively show that prison officials are deliberately indifferent to his exposure

to ETS. Helling, 509 U.S. at 35. To satisfy the objective element, a plaintiff “must

show that he himself is being exposed to unreasonably high levels of ETS,” and

that the complained risk to his health is considered “to be so grave that it violates

contemporary standards of decency to expose anyone unwillingly to such a risk.”

Id. The objective factor considers “a scientific and statistical inquiry into the

seriousness of the potential harm and the likelihood that such injury to health will

actually be caused by exposure to ETS.” Id. Objectively serious harm also

requires an assessment of society’s view of the risk; i.e., whether “it violates

contemporary standards of decency to expose anyone unwillingly to such a risk.”

Id. at 36. The Court must be mindful of the circumstances surrounding plaintiff's

incarceration, and whether the prison’s No Smoking Policy is “administered in a

way that will minimize the risk to [plaintiff] and make it impossible for him to

prove that he [was] exposed to unreasonable risk with respect to his future

health....” Id. The subjective component requires a showing of deliberate

                                           5
     Case 1:17-cv-01637-JEJ-EBC Document 31 Filed 04/11/18 Page 6 of 10



indifference. “Deliberate indifference” is more than mere malpractice or

negligence; it is a state of mind equivalent to reckless disregard of a known risk of

harm. Farmer v. Brennan, 511 U.S. 825, 837–38 (1994). “[A] prison official

cannot be held liable under the Eighth Amendment ... unless the official knows of

and disregards an excessive risk to inmate health or safety.” Id. at 837.

      Murray argues that “[a]s the Court critically examine [sic] movant’s

evidence of dangerously high levels of ETS [Environmental Tobacco Smoke] in

the inmate housing units of SCI-Dallas; and more significantly, also of defendants’

deliberate indifference to deathly risk ETS pose to the future health of movant and

non-smoking inmate population, more likely than not movant’s 8th Amendment

claims will survive a motion to dismiss/summary judgment by defendants.” (Doc.

4, pp. 13, 14). In support of his motion, he submits a copy of the Pennsylvania

Department of Corrections’ (“DOC”) Clean Indoor Air Act, effective September

11, 2008, vowing to provide a smoke free environment consistent with the

Pennsylvania Clean Indoor Air Act, copies of his grievances, declarations from

two inmates indicating that they have been “allowed by staff to freely use/consume

smoking tobacco products (at any time and anywhere) in the inmate housing

units,” and declarations from six other inmates stating they “have been exposed to

extraordinarily high levels of secondhand smoke or environmental tobacco smoke

                                          6
     Case 1:17-cv-01637-JEJ-EBC Document 31 Filed 04/11/18 Page 7 of 10



(ETS), in the inmate housing units; because of inmates being allowed to freely use

smoking tobacco in housing units; at any time and any where they please.” (Docs.

7, 8). In opposition, Defendants “acknowledge that there is exposure to cigarette

smoke at SCI-Dallas. However, exposure does not equal medical harm or

disability.” (Doc. 24, p. 3).

      The information contained in Murray’s grievances, and the inmates’

declarations indicating exposure to “extraordinarily high levels” of ETS, falls short

of what is needed to satisfy the objective component. As stated supra, this

component requires “a scientific and statistical inquiry into the seriousness of the

potential harm and the likelihood that such injury to health will actually be caused

by exposure to ETS.” Helling, 509 U.S. at 35. Murray fails to explain the actual

levels to which he is exposed via a scientific and statistical inquiry. Based on the

failure to meet the objective component of his Eighth Amendment claim, the Court

cannot conclude, at this early juncture in the proceedings, that Murray has

demonstrated a “reasonable probability of success” on the merits.

      B.     Irreparable Harm

      To satisfy the second factor, the moving party “must demonstrate ... the

probability of irreparable harm if relief is not granted.” Frank’s GMC Truck

Center, Inc. v. General Motors Corp., 847 F.2d 100, 102 (3d Cir. 1988) (internal

                                          7
      Case 1:17-cv-01637-JEJ-EBC Document 31 Filed 04/11/18 Page 8 of 10



quotations omitted). “In order to demonstrate irreparable harm the plaintiff must

demonstrate potential harm which cannot be redressed by a legal or an equitable

remedy following a trial. The preliminary injunction must be the only way of

protecting the plaintiff from harm.” Instant Air Freight Co. v. C.F. Air Freight,

Inc., 882 F.2d 797, 801 (3d Cir. 1989). The moving party must demonstrate that it

is likely to suffer “actual or imminent harm which cannot otherwise be

compensated by money damages,” or it “fail[s] to sustain its substantial burden of

showing irreparable harm.” Frank’s GMC, 847 F.2d at 103. The mere risk of

injury is insufficient. The moving party must establish that the harm is imminent

and probable. Anderson v. Davila, 125 F.3d 148, 164 (3d Cir. 1997). Additionally,

“a showing of irreparable harm is insufficient if the harm will occur only in the

indefinite future. Rather, the moving party must make a clear showing of

immediate irreparable harm.” Campbell Soup Co. v. ConAgra, Inc., 977 F.2d 86,

91 (3d Cir. 1992).

      Murray’s claim is rooted in future harm, not actual or imminent harm.

Further, the motion is devoid of evidence that he will suffer immediate irreparable

harm if relief in the form of an injunction is not granted.

IV.   Conclusion




                                           8
     Case 1:17-cv-01637-JEJ-EBC Document 31 Filed 04/11/18 Page 9 of 10



      Although the Court fully appreciates that Murray’s motivation in seeking

preliminary relief is borne out of his compelling concern with the alleged ongoing




                                         9
     Case 1:17-cv-01637-JEJ-EBC Document 31 Filed 04/11/18 Page 10 of 10



exposure to extraordinarily high levels ETS, his inability to meet the two most

critical factors for preliminary injunctive relief warrants denial of his motion. We

hasten to add that this decision is limited to the request for preliminary relief

which, by its nature, is made on an abbreviated record and prior to the benefit of

any discovery. It is in no way intended to intimate any opinion on the ultimate

merits of Murray’s case.

      NOW THEREFORE, upon consideration of Plaintiff’s motion (Doc. 3) for

preliminary injunction, and for the reasons set forth above, it is hereby ORDERED

that the motion (Doc. 3) is DENIED.



                                        s/ John E. Jones III
                                        John E. Jones III
                                        United States District Judge
